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    16                               UNITED STATES DISTRICT COURT
    17                              CENTRAL DISTRICT OF CALIFORNIA
    18                               WESTERN DIVISION – Los Angeles
    19
    20 YUGA LABS, INC.,                             Case No.: 2:22-cv-04355-JFW-JEM
    21                       Plaintiff,             FINAL JOINT EXHIBIT LIST
    22           v.                                 Trial Date: July 31, 2023
    23 RYDER RIPPS, JEREMY CAHEN,
    24                       Defendants.
    25
    26


                                             Part 2
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    28

         FINAL JOINT EXHIBIT LIST                                    Case No. 2:22-cv-04355-JFW-JEM
